            Case 1:23-cv-04291-AT Document 24 Filed 11/10/23 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
Jorge Garcia, on behalf of himself and others
similarly situated in the proposed FLSA                        Case No.: 1:22-cv-10500
Collective Action,
                                                               PROPOSED JUDGMENT
                                             Plaintiffs,
                  -against-

S&D Security and Data Inc., and David Amir,

                                            Defendants.
-----------------------------------------------------------X

        On November 10, 2023, Plaintiff Jorge Garcia (the “Plaintiff”) filed a notice of acceptance

of offer of judgment pursuant to Rule 68 of the Federal Rules of Civil Procedure;

       NOW, it is hereby ORDERED, ADJUDGED AND DECREED that the Plaintiff has

judgment against Defendants S&D Security and Data Inc., and David Amir (collectively, the

“Defendants”), in the amount of Five Thousand Dollars and Zero Cents ($5,000.00) which is

inclusive of attorneys’ fees and costs and any other fees, costs, and/or disbursements.

        This judgment is intended to resolve, in full satisfaction, all of Plaintiff’s claims as alleged

or which could have been alleged in the Complaint pertaining to this Action, including any

damages Plaintiff asserted or could have asserted in this Action, including but not limited to, any

claims Plaintiff may have for monetary damages, backpay, front pay, liquidated damages,

penalties, and any fees, costs, and/or reasonable attorneys’ fees.

        The payment amount shall be paid on or before a date within fourteen (14) days of the date

of this Judgment.

Dated: ________, 2023

                                                     SO ORDERED

                                                     __________________________________
